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           United States District Court for the District of Columbia

United States of America                     *

      v.                                     *            No. 1:21-cr-00032-DLF-1

Guy Wesley Reffitt                           *


                      Motion to Arrest Judgment on Count Two

      Defendant moves to arrest judgment, because the Court does not have

jurisdiction regarding Count Two of the Indictment. Fed. R. Crim. P. 34(a). In

support, he states:


      1.     The Indictment does not allege that the defendant took some action with

respect to a document, record, or other object in order to corruptly obstruct, impede

or influence an official proceeding. Doc’s 4, 25, 34.


      2.     Nor does the Indictment allege that the defendant impaired, attempted

to impair, or helped anyone else impair the integrity and availability of non-object

information. Ibid.


      3.     The Court has already found that “[i]n contrast to the indictment at

issue in Sandlin, the Indictment in this case does not allege any facts in support of

the § 1512(c)(2) charge.” Min. Ord., Dec. 11, 2021.


  Memorandum in Support of Motion to Arrest Judgment on Count Two

      A defendant may move to arrest judgment within 14 days after the court

accepts a verdict. Fed. R. Crim. P. 34(b).
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         The indictment must contain “the essential facts constituting the offense

charged.” Fed. R. Crim. P. 7(c)(1). When it does not, the defendant has not received

fair notice of the charges against him, and the government has not properly presented

the felony charge to the grand jury. See e.g., United States v. Walsh, 194 F.3d 37, 44

(2d Cir. 1999).


         The Indictment does not allege that the defendant took some action with

respect to a document, record, or other object in order to corruptly obstruct, impede

or influence an official proceeding. Doc’s 4, 25, 34; see United States v. Miller, DCD

No. 1:21-cr-00119-CJN, Doc. 72 at 28–29 (Mar. 7, 2022) (dismissing § 1512(c)(2)

charge).


         Nor does the Indictment allege that the defendant impaired, attempted to

impair, or helped anyone else impair the integrity and availability of non-object

information. Ibid.; see United States v. Ermoian, 752 F.3d 1165, 1171–1172 (9th Cir.

2013).


         The Court has already found that “[i]n contrast to the indictment at issue in

Sandlin, the Indictment in this case does not allege any facts in support of the §

1512(c)(2) charge.” Min. Ord., Dec. 11, 2021.


         A defendant cannot be prosecuted for a felony without either a grand jury

indictment or a waiver of that right. U.S. Const. amend. V; Fed. R. Crim. P. (7)(a) &

(b); see Gaither v. United States, 413 F. 2d 1061 (D.C. Cir. 1969). A defendant has a


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“substantial right to be tried only on charges presented in an indictment returned by

a grand jury.” Stirone v. United States, 361 U.S. 212, 217 (1960). Deprivation of “the

defendant’s substantial right to be tried only on charges presented in an indictment

returned by a grand jury ... is far too serious to be treated as nothing more than a

variance and then dismissed as harmless error.” Ibid.


      “[A]n indictment cannot be amended except by resubmission to the grand

jury[.]” Russell v. United States, 369 U.S. 749, 770 (1962). Neither the prosecutor,

nor the court may make a subsequent guess as to what was in the minds of the grand

jury at the time they returned the indictment, because that “would deprive the

defendant of a basic protection which the guaranty of the intervention of a grand jury

was designed to secure.” Ibid.


      The court must arrest judgment if the court does not have jurisdiction of the

charged offense. Fed. R. Crim. P. 34(a).


                                 Request for Hearing

      Defendant requests a hearing. Loc. Cr. R. 47(f).


                             Points and Authorities

Gaither v. United States, 413 F. 2d 1061 (D.C. Cir. 1969).
Russell v. United States, 369 U.S. 749 (1962).
Stirone v. United States, 361 U.S. 212 (1960).
United States v. Ermoian, 752 F.3d 1165 (9th Cir. 2013).
United States v. Miller, DCD No. 1:21-cr-00119-CJN, Doc. 72 (Mar. 7, 2022).
United States v. Walsh, 194 F.3d 37, 44 (2d Cir. 1999).


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U.S. Const. amend. V.
Fed. R. Crim. P. (7).
Fed. R. Crim. P. 34.
Loc. Cr. R. 47(f).

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                                           (Appointed by this Court)

                               Certificate of Service

      I hereby certify that on this 21st day of March 2022 a copy of the foregoing

Motion to Arrest Judgment on Count Two, Memorandum, and Request for Hearing

were delivered electronically to Mr. Jeffrey S. Nestler (jeffrey.nestler@usdoj.gov) and

Ms. Risa Berkower (risa.berkower@usdoj.gov), Office of the United States Attorney,

555 Fourth Street, NW, Washington, DC 20530.


                                           /s/ William          L. Welch, III
                                           William L. Welch, III




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